ATTACHMENT B
   PART 1
                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK



 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

                          Plaintiff,

 v.

 JPMORGAN CHASE BANK, N.A.,
                                                  Case No. 22-cv-10904 (JSR)
                          Defendant/Third-Party
                          Plaintiff.


 JPMORGAN CHASE BANK, N.A.,

 Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY,

 Third-Party Defendant.



 JPMORGAN CHASE BANK, N.A.’S LOCAL CIVIL RULE 56.1(B) RESPONSE TO
  STATEMENT OF MATERIAL FACTS AS TO WHICH GOVERNMENT OF THE
UNITED STATES VIRGIN ISLANDS CONTENDS THERE IS NO GENUINE DISPUTE

       Pursuant to Fed. R. Civ. P. 56 and Local Civil Rule 56.1, Defendant/Third-Party Plaintiff

JPMorgan Chase Bank, N.A. (“JPMC” or “JPMorgan”) hereby responds to the Statement of

Material Facts as to which Government of the United States Virgin Islands Contends There is No

Genuine Dispute (“USVI SUMF”) filed by the Government of the United States Virgin Islands

(“USVI”). See Dkt. 219. To avoid repetition, JPMC incorporates by reference herein JPMorgan

Chase Bank, N.A.’s Local Rule 56.1 Statement of Undisputed Material Facts in Support of
